                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )   Case No. 20-CR-04027-LTS-KEM
                                               )
             vs.                               )
                                               )
JERAD COLT BARNES,                             )
                                               )
                    Defendant.                 )

                   MOTION TO UNSEAL PLEA AGREEMENT

       The United States of America files this motion and respectfully requests the

Court order the Plea Agreement in the above-entitled matter be unsealed.

       In support thereof, the United States states as follows:

          1. The defendant, Jerad Colt Barnes pled guilty on September 24, 2020

(Doc. 27) and was sentenced on February 20, 2021 to 156 months in prison. (Doc.

42).

          2. The DEA had begun administrative forfeiture proceedings against

cryptocurrency seized from Defendant and defendant filed a claim to challenge the

administrative forfeiture, indicating the cryptocurrency was not related to his drug

trafficking. Upon that claim, the DEA referred the forfeiture proceeding to the

United States Attorney’s Office for the Northern District of Iowa to commence a

civil forfeiture proceeding against the seized property pursuant to 21 U.S.C. § 881

and 18 U.S.C. § 981 and 983.



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          3. On September 29, 2020, in this criminal case, the United States filed

its exhibits from the plea on September 24, 2020 under seal including the plea

agreement between the parties. (Doc. 29).

          4. The plea agreement contains a stipulation of facts agreed to by

Defendant as well as agreements on Defendant’s part not to contest forfeiture of the

items sought in the administrative forfeiture of DEA and any other proceeding.

          5. The United States, in filing its complaint for forfeiture in rem, sets out

a series of facts and circumstances in support of its complaint including those

stipulated facts and other agreements contained within the plea agreement to

provide the basis for the Court’ issuance of a Warrant of Arrest in rem pursuant to

the statutes.

          6. Not only in the context of filing the complaint, but also the plea

agreement will be material to the assertions made by Defendant that the

cryptocurrency is unrelated to his criminal conviction or other drug activities.

          7. There is good cause to authorize the unsealing of the plea agreement to

the parties and/or attorneys for the parties in the new civil action to forfeit property

from Defendant. Defendant’s factual statements in the plea agreement may be

relevant to, and even admissible in, the newly filed civil action. Fed. R. Evid. 401,

402; see, e.g., Lowery v. Stovall, 92 F.3d 219, 224-25 (4th Cir. 1996) (collecting

authorities). Further, the plea agreement itself contains no provisions for sealing.

United States v. Faris, 388 F.3d 452, 461 (4th Cir. 2004); United States v. Crompton


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Corp., 399 F. Supp. 2d 1047, 1051 (N.D. Cal. 2005).

         8. At this point in the civil proceedings, it appears that Defendant

is not represented by counsel as to the issues for which the unsealing is sought,

although Defendant Barnes was represented by Timothy Hershberger of the

Federal Public Defender’s Office. Because this unsealing is intended to allow the

civil proceeding to proceed, it is not clear as to whether Mr. Hershberger or any

other attorney are representing Defendant Barnes at this time. When Defendant

Barnes made his Claim to DEA in the admirative forfeiture matter, Defendant

Barnes appeared pro se.

         WHEREFORE, the United States respectfully requests the plea

agreement be unsealed.


                                       Respectfully submitted,

                                       SEAN R. BERRY
                                       United States Attorney

                                       By: /s/ Martin J. McLaughlin

                                       _____________________________________
                                       MARTIN J. McLAUGHLIN
                                       Assistant United States Attorney
                                       111 – 7th Avenue SE
                                       Cedar Rapids, IA 52401
                                       (319) 363-6333
                                       (319) 363-1990 - fax
                                       Marty.McLaughlin@usdoj.gov




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